Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 1 of 47




            EXHIBIT 16
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 2 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 3 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 4 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 5 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 6 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 7 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 8 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 9 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 10 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 11 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 12 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 13 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 14 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 15 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 16 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 17 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 18 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 19 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 20 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 21 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 22 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 23 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 24 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 25 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 26 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 27 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 28 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 29 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 30 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 31 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 32 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 33 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 34 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 35 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 36 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 37 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 38 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 39 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 40 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 41 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 42 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 43 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 44 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 45 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 46 of 47
Case 3:16-md-02741-VC Document 648-16 Filed 10/27/17 Page 47 of 47
